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11                            FOR THE EASTERN DISTRICT OF CALIFORNIA
12                                          SACRAMENTO DIVISION
13

14
     RALPH COLEMAN, et al.,                                  2:90-cv-00520 KJM-DB (PC)
15
                                                Plaintiffs, DECLARATION OF PAM AHLIN IN
16                                                          SUPPORT OF DEFENDANTS’
                      v.                                    RESPONSE TO QUESTIONS POSED IN
17                                                          DECEMBER 9, 2016, ORDER
18   EDMUND G. BROWN JR., et al.,
19                                           Defendants.
20
21         I, Pam Ahlin, declare:

22           1.   I am the Director of the Department of State Hospitals (DSH) and I have personal

23   knowledge of the facts stated in this declaration and if called upon to testify to those facts, could

24   and would do so competently. I make this declaration in support of Defendants’ Response to

25   Questions Posed in the December 9, 2016, Order.

26           2.   DSH provides inpatient mental health treatment to approximately 2,285 California

27   Department of Corrections and Rehabilitation’s (CDCR) patients annually in designated licensed

28   beds at DSH-Atascadero, DSH-Coalinga, and in facilities operated within CDCR prisons,
                                                 1
     Decl. of P. Ahlin in Supp. of Defs.’ Response to Questions Posed in 12/9/16 Order (2:90-cv-00520 KJM-DB (PC))
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 1   specifically the Vacaville Psychiatric Program, the Salinas Valley Psychiatric Program, and the

 2   California Health Care Facility at Stockton.

 3           3.   The DSH psychiatric programs offer several levels of clinical care and custodial

 4   environments to meet the different needs of the Coleman population and create a continuum of

 5   care throughout the DSH mental health inpatient system. Patients’ clinical needs range from acute

 6   to intermediate and patients’ custody factors range from low risk to high risk, resulting in some

 7   patients moving from locked, single cells to multi-person cells, locked dorms, and unlocked

 8   dorms. An individualized clinical assessment determines where a patient’s mental health needs

 9   will be appropriately and optimally met. As a result of pairing patients’ clinical needs with their

10   appropriate housing environment, there are circumstances where DSH beds designated for

11   Coleman class members are available but not filled. Under those circumstances, when beds at the

12   state hospitals cannot be used for Coleman patients, they are used for other patients, also subject

13   to court-ordered commitment, but made available for Coleman when the need arises. Coleman

14   class members, however, maintain their placement priority for such beds. Thus, if CDCR

15   clinicians refer a Coleman class member to an inpatient bed and the Coleman-designated space is

16   occupied, DSH makes that bed to the Coleman class member and moves the non-Coleman patient.

17           4.   Due to the recent storms, DSH experienced flooding in its facility at Salinas Valley

18   State Prison caused by a high volume of rain. As a result, DSH has been unable to use 20 high-

19   custody intermediate care beds since October 2016, and an additional 34 high-custody

20   intermediate care beds in January 2017, which constrained capacity and added to waiting times
21   for beds in high demand. To off-set the loss of intermediate care beds, DSH, with the approval of

22   licensing, is using the Isolation Rooms at DSH-Stockton on an emergency basis. DSH and

23   CDCR will ensure that appropriate staff coverage is provided twenty-four hours a day, seven days

24   a week, while these rooms are in use. DSH-Stockton will continue to take new admissions from

25   the referral waitlist, utilizing the Isolation Rooms for patients nearing discharge readiness and

26   backfilling with admissions. Construction has begun and repairs are ongoing. Currently, it is
27   estimated that the beds at Salinas Valley State Prison will be back on-line and available for use by

28
                                                           2
     Decl. of P. Ahlin in Supp. of Defs.’ Response to Questions Posed in 12/9/16 Order (2:90-cv-00520 KJM-DB (PC))
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 1   the middle of March 2017. DSH and CDCR are taking immediate steps to provide continued

 2   mental health services to those patients impacted by the rain damage.

 3           5.   As to the feasibility of contracting with community hospitals to provide inpatient

 4   mental health care to class members when DSH capacity is full, recent exploration of community

 5   options demonstrated a lack of community resources. Specifically, in December 2014, DSH

 6   distributed a Request For Information to all licensed Institution for Mental Disease facilities in

 7   California via direct contact and posting to the State of California’s online procurement system –

 8   BidSync. Over 50 licensed facilities were asked to provide information relative to types of beds

 9   available for contract, services provided and security provisions available. Statewide, there were

10   only 3 - 5 empty available beds at any given time. These facilities primarily provide mental health

11   services to patients in the community or conserved under the Lanterman Petris Short Act. The

12   results of this request are indicative of the ongoing shortage of secure mental health beds

13   available outside the boundaries of DSH and CDCR facilities, which is also reflected in the

14   continued increase of Lanterman Petris Short Act patients referred to the state hospitals for

15   treatment.

16           6.   As of January 11, 2017, there were 29 inmate-patients waiting for placement in an

17   acute care bed, none of whom were waiting beyond program guide timelines, 10 inmate-patients

18   waiting for placement in a low-custody intermediate care bed, none of whom were waiting

19   beyond program guide timelines, and 79 inmate-patients waiting for placement in high-custody

20   intermediate care beds, 29 of whom were waiting beyond program guide timelines.
21         I declare under penalty of perjury under the laws of the United States of America that the

22   foregoing is true and correct. Executed in Sacramento, California on January 13, 2017.

23                                                         /s/ Pam Ahlin
24                                                         PAM AHLIN
                                                           Director, Department of State Hospitals
25
                                                           (original signature retained by attorney)
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27   CF1997CS0003

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                                                           3
     Decl. of P. Ahlin in Supp. of Defs.’ Response to Questions Posed in 12/9/16 Order (2:90-cv-00520 KJM-DB (PC))
